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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                 Plaintiff,

 vs.                                                                            Cr. No. 03-2112 MV

 JORGE TORRES-LARANEGA, et al.,

                 Defendants.

                              MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on Defendant Jorge Torres-Laranega’s Motion for

a Judgment of Acquittal Pursuant to Rule 29 of the Federal Rules of Criminal Procedure, orally made

at the close of the government’s case on February 15, 2005. The Court, having considered the

motion, briefs, relevant law and being otherwise fully informed, finds that the motion is not well taken

and will be DENIED.

                                          BACKGROUND

        Torres was charged in all counts of a three-count Fourth Superseding Indictment. Under 21

U.S.C. §848(a), Torres was charged in Count 1 with continuing criminal enterprise. Under 21 U.S.C.

§846, Torres was charged in Count 2 with conspiracy to possess with intent to distribute 1,000

kilograms and more of marijuana within 1,000 feet of the real property of a school, contrary to 21

U.S.C. §§841(a)(1), 841(b)(1)(A), and 860(a), and within 1,000 feet of the real property comprising

a truck stop, contrary to 21 U.S.C. §§841(a)(1), 841(b)(1)(A), and 849(a). Under 21 U.S.C.

§§841(a)(1) and (b)(1)(A) and 18 U.S.C. §2, Torres was charged in Count 3 with possession with

intent to distribute 1,000 kilograms and more of marijuana and aiding and abetting.
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       The Court held a jury trial in this matter, which commenced on January 19, 2005. On

February 15, 2005, at the close of the government’s case-in-chief, Torres orally moved for a judgment

of acquittal. The Court took the motion under advisement. Torres then rested his case without

presenting any evidence. Thereafter, on February 23, 2005, the jury returned a verdict of guilty as

to Torres on Counts 1, 2 and 3 of the Fourth Superseding Indictment.

                                            DISCUSSION

I.     Standard on a Motion for Judgment of Acquittal Pursuant to Rule 29

       Rule 29 of the Federal Rules of Criminal Procedure provides in relevant part:

               (a) Before Submission to the Jury. After the government closes its evidence
       or after the close of all the evidence, the court on the defendant’s motion must enter
       a judgment of acquittal of any offense for which the evidence is insufficient to sustain
       a conviction. . . .

               (b) Reserving Decision. The court may reserve decision on the motion,
       proceed with the trial (where the motion is made before the close of all the evidence),
       submit the case to the jury, and decide the motion either before the jury returns a
       verdict or after it returns a verdict of guilty . . . If the court reserves decision, it must
       decide the motion on the basis of the evidence at the time the ruling was reserved.

       In deciding a motion for a judgment of acquittal pursuant to Rule 29, the court “must

determine whether ‘viewing the evidence in the light most favorable to the Government, any rational

trier of fact could have found the defendant guilty of the crime beyond a reasonable doubt.’” United

States v. Delgado-Uribe, 363 F.3d 1077, 1081 (10th Cir. 2004) (quoting United States v. Vallo, 238

F.3d 1242, 1246-47 (10th Cir.), cert. denied sub nom. Chino v. United States, 532 U.S. 1057

(2001)). In reviewing the sufficiency of the evidence, “the court must consider the direct and

circumstantial evidence, as well as the reasonable inferences to be drawn from that evidence.” United

States v. Robinson, 2004 WL 2005795, *1 (D. Kan. Aug. 17, 2004) (citing United States v. Davis,



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1 F.3d 1014, 1017 (10th Cir. 1993)). In conducting its inquiry, the court does not “weigh conflicting

evidence [or] consider the credibility of witnesses. Instead, [the court] must simply determine

‘whether [the] evidence, if believed, would establish each element of the crime.’” Delgado-Uribe,

363 F.3d at 1082 (quoting Vallo, 238 F.3d at 1247).

       The evidence to support a conviction “‘must be substantial; . . . it must do more than raise a

mere suspicion of guilt.’” Robinson, 2004 WL 2005795 at *1 (quoting United States v. Torres, 53

F.3d 1129, 1133-34 (10th Cir. 1995), cert. denied, 519 U.S. 890 (1996)). Nonetheless, the evidence

“‘need not conclusively exclude every other reasonable hypothesis and it need not negate all

possibilities except guilt.’” Robinson, 2004 WL 2005795 at *1 (quoting United States v. Johnson,

42 F.3d 1312, 1319 (10th Cir. 1994), cert. denied, 514 U.S. 1055 (1995)).

II.    Evidence Presented at Trial

       At trial, the government presented evidence of events that occurred between June, 2002 and

November 19, 2003 as follows. The confidential informant, Yolanda Alarcon, testified that, in June

2002, she met with codefendant Jorge Torres-Laranega, who asked her to drive a truck to Chicago.

Ms. Alarcon testified that it was her understanding that the truck was loaded with drugs and that

Torres offered to pay her $15,000 to drive the truck. Alarcon further testified that, later the same

day, she picked up a purple truck in El Paso and moved it to a truck stop. According to Alarcon, she

moved that same purple truck three additional times: once in August or September, 2003, then in

March, 2003 and finally on April 7, 2003, when she was stopped at the Anthony port of entry by

MTD Officers Harry Sanchez and Ty Hamilton.

       Officer Sanchez testified that, when he stopped Alarcon on April 7, 2003, he found a blue

medical card belonging to codefendant Martin Mendivil, in addition to a log book containing


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Mendivil’s handwritten name throughout the book and containing alleged coconspirator Guillermo

Verdugo Jr.’s (“Guillermo”) handwritten name on the front cover. The log book appears to

document two trips made by Mendivil in the purple truck from Las Cruces to Chicago.

       With regard to the first trip, the log book shows that Mendivil left Las Cruces on March 3,

2003, traveled through Albuquerque, Amarillo, Oklahoma City, Joplin, St. Louis and Auburn, arrived

in Chicago on March 5, 2003, stayed in Chicago until March 10, 2003, departed Chicago on March

10, 2003, traveled through St. Louis, Joplin, and Oklahoma City and arrived in Santa Rosa, New

Mexico on March 12, 2003.

       When Torres was arrested, he had in his possession a driver’s license, a social security card,

a birth certificate and a Sam’s Club card, all issued to an individual named Jesus Burciaga. The

driver’s license and the Sam’s Club card displayed Torres’ photograph. Evidence of the purchase

history on the Sam’s Club card in Burciaga’s name shows that purchases were made with this card

in Chicago on March 11, 2003.

       With regard to the second trip, the log book shows that Mendivil left Las Cruces on March

21, 2003, traveled through Albuquerque, Amarillo, Oklahoma City, Joplin, Missouri and St. Louis,

arrived in Chicago on March 23, 2003, stayed in Chicago “off duty” until he departed on March 29,

2003, traveled through St. Louis, Joplin and Oklahoma City and arrived in Amarillo on March 31,

2003. Evidence of the purchase history on the Sam’s Club card in Burciaga’s name shows that

purchases were made with this card in Chicago on March 25, 2003. In addition, records from the

Best Western River North Hotel in Chicago list as a guest Martin Mendivil, residing at 109 Linda

Vista Drive, Sunland Park, New Mexico, from March 26 to March 27, 2003 and from March 28 to

March 29, 2003. Records for the same hotel also list as guests codefendant Gabriel Fernandez and



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Guillermo from March 26 to March 29, 2003. The log book and the hotel records corroborate

Alarcon’s testimony that, in March, 2003, she moved the purple truck to the “ranchito” in Las Cruces

in connection with a trip that Guillermo took to Chicago. All of this evidence, taken together, creates

a reasonable inference that, twice in March, 2003, Mendivil drove a truck loaded with marijuana from

Las Cruces to the Chicago area, and that other members of the alleged conspiracy, including Torres,

Fernandez and Guillermo, were in Chicago during the same time periods as Mendivil.

        Alarcon testified that, on April 7, 2003, she met with Fernandez and Torres at a parking lot

in El Paso, where Torres instructed her to move the same purple truck to the ranchito in Las Cruces

and gave her the keys and $1,000. Alarcon further testified that she drove the truck and that

codefendant Edgar Lopez-Hernandez and Guillermo followed the truck in Lopez’s red Crown

Victoria. According to Alarcon, she stopped on the ramp before reaching the Anthony port of entry

because she did not have a log book or a bill of lading and asked Lopez and Guillermo to purchase

these at the truck stop and bring them to her. Alarcon testified that, when they brought her the log

book and blank bill of lading, she asked Lopez what was in the back of the truck so that she could

fill out the bill of lading. Alarcon testified that, although Lopez told her that there were eighteen

dryers in the truck, she got confused and wrote “eighteen washers” on the bill of lading. Officer

Sanchez found this bill of lading in the purple truck when he stopped Alarcon and seized the truck

at the port of entry.

        Alarcon testified that, on May 18, 2003, Lopez asked her to move a red truck from the Pilot

Truck Stop to a pallet shop and back to the TA Truck Stop in Las Cruces. Documentary evidence

established that, in February, 2003, Jose Diaz, d/b/a Stallion Transportation, had purchased this truck,

registered it with the Department of Motor Vehicles and purchased, in cash, insurance on the truck.



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Documentary evidence further established that, on May 14, 2003, Diaz reinstated the insurance policy

on this truck. According to Alarcon, Lopez advised her that Torres told Lopez to get someone to

drive the truck. She testified that, at first, Torres suggested an individual named Rito Roman, but that

Lopez did not like Roman and, for this reason, instead asked Alarcon to move the truck. Testimony

of surveillance agents corroborated Alarcon’s testimony that she moved the truck to the pallet shop,

where the truck was loaded, and moved the truck from the pallet shop to the TA Truck Stop in Las

Cruces. Testimony of surveillance agents established that Lopez and Mendivil met at the TA Truck

Stop, Lopez gave Mendivil the keys to the red truck and Mendivil drove the truck north to the Las

Cruces checkpoint on I-25. Border Patrol Agent Manuel Casares testified that, at the checkpoint,

he questioned Mendivil regarding his load. Agent Casares testified that Mendivil advised that he was

hauling “lavadoras,” the Spanish word for washers. According to Agent Casares, he asked Mendivil

for the bill of lading, which showed that Mendivil was carrying red chile. Agent Casares testified that,

when he told Mendivil what the bill of lading stated, Mendivil said that it was odd because he was

hauling washer/dryers “the last time.” The red truck then was searched, 1,417 kilograms of marijuana

were found, the red truck was seized and Mendivil was arrested.

       During the search of the truck, a receipt for the TA Truck Stop in Amarillo, dated April 19,

2003, and a receipt for the Will Rogers Turnpike in Oklahoma, also dated April 19, 2003, were

found. Records from the Midway Airport, Chicago Best Western Hotel show as a guest Martin

Mendivil, residing at the Sunland Park address, from April 14 to April 19, 2003; from April 17 to

April 18, 2003; and from April 11 to April 12, 2003. In addition, records from the Best Western

River North Hotel show as a guest Martin Mendivil, residing at the same address, from April 12 to

April 14, 2003. Records from the same hotel also show as a guest Fernandez from April 11 to April



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14, 2003. A reasonable inference can be drawn from all of this evidence, taken together, that

Mendivil transported a marijuana load in the red truck in April and that there was a cover load of

“lavadoras” in the truck during that trip.

         DEA Agent Jacinto Flores testified that, after the May 18, 2003 seizure, he tried to locate

Diaz, the registered owner of the seized red truck. Agent Flores testified that he could not locate

Diaz or Stallion Transportation at the address listed for Stallion Transportation, which appeared to

be a residence belonging to a woman named Veronica Villalobos. Agent Flores further testified that

Diaz’s attorney called him and subsequently came to his office with Diaz in order to retrieve the red

truck.

         According to Agent Flores, Diaz presented a document showing that Diaz had leased the red

truck to an individual named Jorge Reyes on April 14, 2003. The lease document, which was

admitted into evidence, was notarized and contained the signature of a notary public named Lorena

Garcia. Ms. Garcia testified that she did not recognize the lease document and had never notarized

the lease document, that the signature on the document was not hers and that someone else must have

taken her stamp and affixed it to the document. In addition, the lease document states that it is for

a period of three months, from May 1, 2003 to September 1, 2003. This, however, is a period of four

months. Similarly, the word “contract” is misspelled in the document. The agreement also contains

a condition that the contract will be “nulled [sic] and voided” if the tractor trailer is used in any way

in illegal activity. Moreover, the receipts dated April 19, 2003 that were found in the red truck,

viewed together with the hotel records showing Mendivil as a guest in Chicago from April 14 to April

19, 2003, suggest that, on April 14, 2003, the purported date of the lease, the red truck was in

Chicago and thus would not have been available to lease. The totality of this evidence creates a



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reasonable inference that the lease document was not legitimate but rather was fraudulently prepared

after the May 18, 2003 seizure in order to retrieve the red truck.

       On July 23, 2003, the FBI intercepted a telephone call between Torres and an individual

identified as “Primo,” who asked Torres for “paper” because he was losing his position. Immediately

thereafter, the FBI intercepted a telephone call between Torres and codefendant Jessica Mendoza in

which Torres told Mendoza that he needed the paper for “Martin.” A rational trier of fact could infer

from this evidence that Primo was being held accountable for the marijuana lost in the May 18, 2003

seizure and that Torres and Mendoza were attempting to obtain documentation of the seizure to

prove that the marijuana had not been stolen.

       On July 30, 2003, the FBI intercepted a telephone call between Torres and Mendoza during

which they discussed someone named “Martin.” Mendoza said that Martin is sick with a fungus on

his arm, that he has diabetes, that they have not attended to him yet and that the jail is very ugly. In

addition, Mendoza said that “she” told “Hill” that she wanted her money back and that someone had

recommended another attorney. As Mendivil was incarcerated at the time of this conversation, there

is a reasonable inference that he is the “Martin” whom Torres and Mendoza were discussing.

       A lease document admitted into evidence shows that Diaz, d/b/a Stallion Transportation,

leased a white truck from an individual named Steven Broussard on May 21, 2003, three days after

the seizure of the red truck. Documentary evidence also established that, on May 23, 2003, Steven

Broussard paid $4,220 in cash to insure the white truck and that, on May 28, 2003, Steven Broussard

registered the white truck. The registration contains the notation: “unknown milexplaitocustagreed”

and is signed “J. Torres.”




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         Police Officer Peter Michaels testified that, on June 12, 2003 in Cicero, Illinois, he conducted

a consensual search of this same white truck. At the time, an individual named Frank Mendivil was

driving the white truck. Officer Michaels testified that he found in the truck eighteen Maytag boxes.

He further testified that fourteen of the boxes contained commercial dryers and that four of the boxes

were empty. According to Officer Michaels, the empty boxes had pallets at the bottom covered with

coffee grinds and laundry detergent. Records of the purchase history of the Sam’s Club card in the

name of Burciaga show a purchase at the Sam’s Club in Cicero, Illinois on June 27, 2003. This

evidence suggests that Frank Mendivil was transporting a marijuana load and that at least one member

of the alleged conspiracy, Torres, was in the Chicago area at approximately the same time as the

truck.

         Alarcon testified that, on July 9, 2003, Torres asked her to come to Chicago to drive a truck

from Chicago to Laredo and back. Alarcon further testified that she received a wire transfer in the

amount of $700 from Torres in order to fly to Chicago. The FBI intercepted telephone calls in which

Alarcon discussed her flight arrangements with Mendoza and in which Alarcon discussed with Torres

the driving route from Chicago to San Antonio. According to Alarcon, Torres promised to pay her

between $15,000 and $20,00 to drive a loaded truck from San Antonio to Chicago.

         Alarcon testified that, on July 10, 2003, she flew to Chicago where she met Torres, Mendoza,

codefendant Garry Lee Ragan, codefendant Jose Luis Barraza (“Jose Luis”), codefendant Juan

Antonio Barraza (“Juan Antonio”) and Fernandez. Testimony of surveillance agents established that

this group was traveling in a Chevy Tahoe with New Mexico plates and registered to Mendoza’s

sister. According to Alarcon, they all drove together to an apartment on Kildare Street. Surveillance

agents took a photograph, admitted into evidence, of several individuals outside of the apartment, one



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of whom was identified by FBI Agent Andy Armijo as Torres.

        Alarcon was wearing a wire, and the FBI recorded a conversation that occurred during the

drive. In that conversation, Mendoza was speaking with someone on the telephone about a ticket

that Juan Antonio had received in Wetherford, Texas for failure to display insurance. During the call,

Mendoza referred to Juan Antonio as “one of my drivers” and said that her “boss” wanted to know

what “failure to display insurance” means. She relayed to Torres that there was a fine that needed

to be paid. Torres instructed her to pay the fine.

        Texas Department of Public Safety Officer John Forrest testified that, on July 3, 2003, he

ticketed Juan Antonio. The ticket, which was admitted into evidence, shows that Juan Antonio was

driving the white truck and that the load in the truck was dryers. In addition, during the search of

the white truck pursuant to the seizure on July 14, 2003 (discussed below), a toll receipt for the

Oklahoma Turnpike dated July 4, 2003 and a sales receipt from the TA Truck Stop in Gary, Indiana

dated July 5, 2003 were found.

        Alarcon testified that, on July 10, 2003, after arriving at the Kildare apartment, she, Torres,

Mendoza, Fernandez, Ragan, Jose Luis and Juan Antonio went to a currency exchange, where Juan

Antonio wired $7,000 to his family. According to Alarcon, Juan Antonio told her that he received

this money from Torres as payment for a prior trip that he had made for Torres from El Paso to

Chicago. Alarcon further testified that Jose Luis and Juan Antonio showed her the bill of lading for

this prior trip. Alarcon testified that she tore up the bill of lading and then gave the pieces to the FBI.

The bill of lading, the pieces of which were admitted into evidence, is dated July 4, 2003 and shows

a load of eighteen industrial dryers. All of this evidence, taken together, creates a reasonable

inference that, for Torres, Juan Antonio and Jose Luis had driven the white truck, loaded with



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marijuana and dryers, through Texas on July 3, 2003, through Oklahoma on July 4, 2003 and to Gary,

Indiana on July 5, 2003.

       Alarcon testified that, on July 11, 2003, she, Ragan and Jose Luis traveled in the white truck

from Chicago to San Antonio and that Mendoza, Torres, Fernandez and Juan Antonio followed them

in the Chevy Tahoe. According to Alarcon, the group met at a hotel in San Antonio and, the

following day, went to a store where Alarcon cashed a money order in the amount of $1,000 that

Mendoza had given her. Alarcon further testified that, thereafter, the group went to a store where

Torres and Mendoza purchased a typewriter. A receipt from an Office Max store in San Antonio

reflecting the purchase of a typewriter on July 12, 2003 was admitted into evidence. In addition,

Agent Henry Alba testified that he observed the SUV that he was assigned to watch in the parking

lot of the Office Max store and observed a group exiting the store with a Brothers box that appeared

to contain a typewriter. Alarcon testified that the group returned to the hotel, where Mendoza typed

up a bill of lading showing a load of eighteen dryers.

       Testimony of surveillance agents established that Jose Luis and Juan Antonio then drove the

white truck to a warehouse in Edinburgh called Show Trucks of Texas, a body shop for trucks.

Testimony of surveillance agents further established that Jose Luis and Juan Antonio unhitched the

trailer, traveled in the tractor to a restaurant, returned to the warehouse, hitched the trailer to the

tractor, and drove the white truck back to San Antonio. Alarcon testified that the group met in San

Antonio late that night. Testimony of surveillance agents established that the group left San Antonio,

Jose Luis and Juan Antonio in the white truck and the others in the Chevy Tahoe. Alarcon testified

that she, Torres, Mendoza, Fernandez and Ragan stopped in Dallas for the night. Records of La

Quinta Hotel in Dallas list as guests Jesus Burciaga and Gaby Fernandez for July 13 to July 14, 2003.



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         Sergeant Noel Sanchez testified that, in the early morning of July 14, 2003, in Gary, Indiana,

he stopped and searched the white truck driven by Jose Luis and Juan Antonio. The truck contained

777 kilograms of marijuana, fourteen boxes containing dryers and four empty boxes. The white truck

then was seized. Alarcon testified that, after the seizure, Jose Luis and Juan Antonio called Torres

to tell him about the seizure and Torres told the rest of the group riding in the car, “they got the

guys.”

         On July 23, 2003, the FBI intercepted a telephone call between Torres and an unidentified

male with a (956) area code. The unidentified male asked Torres about getting something to

document what happened “that day.” Torres explained that, because no one was arrested, there was

no report that states who was arrested and with how much. The unidentified male said, “these people

are thinking something bad.” A reasonable inference can be drawn that they were discussing

documentation to show that there was a legitimate seizure of the marijuana.

         On July 24, 2003, the FBI intercepted a telephone call between Torres and Jose Luis during

which Torres gave Jose Luis flight information. Later that day, the FBI intercepted another telephone

call between Mendoza and an agent at Southwest Airlines during which Mendoza, representing

herself as “Mrs. Barraza,” made reservations for Jose Luis to fly from El Paso to Chicago the next

day, July 25, 2003. Records from Southwest Airlines reflecting that Jose Luis was on the flights for

which Mendoza made him reservations were admitted into evidence.

         On July 29, 2003, the FBI intercepted a telephone call between Torres and Jose Luis during

which Torres asked Jose Luis where the load was going from and Jose Luis replied that it was going

from Indianapolis to Wisconsin. Jose Luis said that he was going to say that he picked it up there.

Torres said, “they’re going to say, why did you come up on the 57?” Jose Luis responded, “they



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don’t know that I came up on the 57.” Torres then instructed Jose Luis to say that he met another

truck at the Petro and they changed trailers.

        Police Officer Irving Givens testified that Jose Luis arrived at the police station with a letter

to retrieve the white truck. The letter, which was admitted into evidence, is on Broussard Carriers

letterhead and reflects a telephone number of (915) 276-4279. The letter directs that the truck is to

be released to his attorney, Michael Holzmen, and the designated driver, Jose Luis Barraza. The

letter appears to be signed by Steven Broussard and notarized by Scott Kinney. Scott Kinney,

however, testified that he did not notarize this document, that the signature on the document is not

his and that the expiration date on the notary stamp is incorrect. When Mendoza was arrested, she

had in her possession a written notation of the telephone number from the Broussard Carriers

letterhead described as “prepaid.” This evidence, taken together, creates a reasonable inference that

the letter was not legitimate but rather was fraudulently prepared after the seizure in order to retrieve

the white truck.

        On August 5, 2003, the FBI intercepted a telephone call between Torres and Ragan during

which Ragan told Torres, “We are here picking up the truck sir.” Ragan told Torres that he received

a receipt. Torres asked Ragan what the receipt said. Ragan then read him the receipt. Ragan noted

that, on the top, the receipt said, “narcotic hold.” Ragan said, “it says about the pharmacy.” Torres

asked, “Does it say how much it had?” Ragan replied, “No, no it does not say anything.” The release

paperwork from Republic Frame and Axle, the company responsible for towing the white truck after

the July 14, 2003 seizure, was admitted into evidence. The information which Ragan read to Torres

over the telephone was identical to the information contained in the release paperwork. The

reasonable inferences to be drawn from all of this evidence are: Torres sent Jose Luis to pick up the



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white truck; Mendoza arranged for the trip; Torres instructed Jose Luis to fabricate a story explaining

how he came to be in possession of a tractor containing marijuana; Torres and Mendoza provided

Jose Luis with the letter purportedly signed by Steven Broussard; and Torres was seeking

documentation of the seizure in order to prove that the load was seized by law enforcement.

       Alarcon testified that, sometime after July 15, 2003, Torres instructed her to register a truck

in her name that she could use for legitimate loads and that Torres could borrow for drug loads to

Chicago. Alarcon further testified that Mendoza gave her instructions to get papers for the truck at

the house in Mesquite where Mendoza lived with Torres’father, which she did. Also according to

Alarcon, Torres instructed her to register the truck with Land Star Trucking, using Diaz as a

reference. Alarcon testified that Land Star was unable to register the truck and that Torres instructed

her to register it with Wild West Trucking instead. According to Alarcon, Wild West required a

refrigerated truck which Torres said he would buy. Alarcon testified that she and Torres went to

Torres’house at 8377 Roseway in El Paso, where Torres’wife, codefendant Rebecca Ramirez, gave

them money to purchase the truck, and then purchased a gray, refrigerated truck.

       Alarcon testified that, on July 30, 2003, because the gray truck was not working properly, she

brought it to a repair shop where she met Torres and Diaz. According to Alarcon, Diaz backed the

truck up at the repair shop. Testimony of surveillance agents established that there were two vehicles

at the repair shop that day: a pearl Escalade and a gray Ford F150 pickup truck. Alarcon testified

that Torres had told her that the pearl Escalade belonged to him. The pickup truck was registered

in Diaz’s name.

       Testimony of surveillance agents established that, on August 2, 2003, the gray truck was

observed at the Las Cruces Tortillaria in El Paso. When the gray truck was searched on September



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12, 2003 (discussed below), it contained a cover load of tortilla chips and pork rinds. Upon his

arrest, Diaz was found in possession of a business card from the Las Cruces Tortillaria.

       On August 6, 2003, the FBI intercepted a call between Torres and codefendant Raul Espinosa

during which Torres said, “Joe already went to pick up the big truck.” Testimony of surveillance

agents established that, on August 6, 2003, Diaz and Torres were observed at the Flying J Truck

Stop, jump starting the gray truck. Testimony of surveillance agents further established that Diaz was

driving a black Escalade and that Torres was driving a white Corsica.

       Also on August 6, 2003, the FBI intercepted a call between Espinosa and an individual named

Lalo during which Espinosa instructed Lalo to “put as many pallets that are possible . . . over on top

of those tires.” Testimony of surveillance agents established that, on August 6, 2003, a red pickup

truck arrived at the 405 Cineque Way residence with pallets loaded on top of other items in the bed

of the pickup truck.

       On August 7, 2003, the FBI intercepted a telephone call between Torres and Espinosa in

which Torres said that he was leaving that day. Testimony of surveillance agents established that, on

August 7, 2003, the gray truck was moved to a Diamond Shamrock station in El Paso. With the gray

truck, surveillance agents also observed a pearl Escalade driven by a man whose description fits that

of Torres.

       Also on August 7, 2003, El Paso police officers were observing a residence at 405 Cineque

Way when they saw four individuals run out of the house. One of the individuals, who ran into a

truck parked on the property, was Espinosa. Upon Mendoza’s arrest, she had in her possession the

title to the truck in which Espinosa was hiding. The officers subsequently seized 523 kilograms of

marijuana that they found inside the residence.



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        In calls between Torres and Espinosa intercepted by the FBI during the period from August

1 to August 7, 2003, Espinosa told Torres that the boxes are too small for the “dulces,” or candies,

and described the boxes as being 18" x 18" x 16". Torres instructed Espinosa to use “clean” and

“bigger” boxes. Espinosa also told Torres that they had “the stuff,” “the boxes.” In addition, Torres

instructed Espinosa to tell someone named Chapo that they have “1,400.” During the officers’search

of the house at 405 Cineque Way on August 7, 2003, they found 523 kilograms, or 1,200 pounds,

of marijuana. The marijuana was in boxes that were 18" x 18" x 16", and the boxes were bulging.

The officers also found larger, empty boxes. In addition, the officers found the target telephone

which the FBI had provided to Alarcon to give to Torres and on which the FBI had been intercepting

calls. A reasonable inference can be drawn that the conversations between Torres and Espinosa were

about the 1,200 pounds of marijuana discovered at 405 Cineque Way on September 7, 2003.

        Alarcon testified that, on September 9, 2003, Torres instructed her to move the gray truck

and that, on September 10, 2003, she moved the truck from the TA Truck Stop in Las Cruces to the

Love’s Truck Stop in El Paso. Testimony of surveillance agents corroborated Alarcon’s testimony.

Alarcon further testified that she met Fernandez and codefendant Cesar Miramontes at the Love’s

Truck Stop.

        Testimony of surveillance agents established that the gray truck then was moved from the

Love’s Truck Stop to a warehouse in El Paso that was near train tracks, a petroleum refinery and

Interstate 10. The FBI intercepted a telephone call that same day between Diaz and Miramontes

during which Diaz instructed Miramontes to “go see the place and then . . . leave the vehicle there

where you’re going to park it.” Miramontes replied, “we already saw it, I told you.” Diaz asked,

“how is it?” Miramontes replied, “it’s fine, it’s right there . . . it’s near the . . . Petroleum that’s near



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the freeway.” Diaz asked, “But . . . is it right next to the dimer?” Miramontes replied, “almost.”

Miramontes also said, “By the tracks . . . where the railroad tracks are at.” Diaz asked, “is it

peaceful?” Miramontes replied, “Yes, I’ve gone over there and it’s really nice.”

       Also on September 10, 2003, the FBI intercepted several calls between Torres and Fernandez.

The calls establish that Fernandez was with Miramontes. During one call, Torres instructed

Fernandez to “wait there, Joe is going to go by in the black truck and then you guys go with him.”

As set forth above, a black Escalade is registered in Diaz’s name. Approximately ten minutes later,

the FBI intercepted a call between Torres and Diaz during which Diaz said that he is “here at the

telephones.” Torres told him, “they’re coming out, be on the look out. . . . Go there by where the

big ones come out.” This evidence leads to the reasonable inference that Diaz was planning to meet

Miramontes and Fernandez with the gray truck that had been moved to the warehouse on Alameda.

       On September 11, 2003, the FBI intercepted a telephone call between Torres and Mendoza

during which Mendoza said, “you gotta see it to see if you like it,” and Torres responded, “you

already know what you need to do, I can’t be telling you what . . . You’re the one in charge of that

department.” Mendoza told Torres to “buy some right there and I’m going to make a copy of this

one.” She also asked whether they are “going to fill it out in the typewriter and not in the computer?”

Torres responded, “on the typewriter, I’ll buy one right now.” Mendoza then said, “they’re leaving

at 7:30, just let me go over there and make some copies.” This evidence suggests that Mendoza was

in the process of preparing a bill of lading for a load that was about to be transported.

       Texas Department of Safety Officer Juan Briano testified that, on September 12, 2003, he

conducted an abandoned vehicle inspection of the gray truck, which was parked on Tower Trail Lane

in El Paso. Officer Briano testified that he found in the truck 340 kilograms of marijuana in loose



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boxes along with loose boxes containing tortilla chips and pork rinds.

        At the same time that Officer Briano was conducting his inspection, the FBI intercepted

telephone calls between Torres and Fernandez. During the first call at approximately 11:30 a.m.,

Torres told Fernandez, “I need for you to move the truck, right now.” During a second call

approximately one-half hour later at noon, Fernandez told Torres, “the state trooper is there where

the big vehicle is at. They opened the box.” Fernandez further told Torres that the dogs and the cops

were there and that the back door was open. During the next call approximately one-half hour later

at 12:30 p.m., Fernandez told Torres that “they” were on top, brought dogs and were unloading.

Torres instructed Fernandez to stay there and watch from afar, not to get close to the truck, to sit

down like he was drinking a soda and “just looking.” Torres asked, “and . . . Joe and those guys

aren’t answering, right?” Fernandez replied, “They haven’t called me or anything.” During the next

call at 1:45 p.m., Fernandez told Torres that the “narcs” were still there, that they had been inside the

tractor and the trailer, but that they had not taken anything out. Three minutes later, there was

another call during which Torres asked, “but nothing was on pallets, right? Everything was loose?”

Fernandez responded, “Yes, everything was loose.” Fernandez also said, “I put that shit in the back

and then I put all the pork rinds on top of that shit and on the side where it couldn’t be seen.” One

minute later, there was another call during which Torres told Fernandez, “just be on the look out, if

nothing happens and everything turns out all right, I’ll give each of you $20,000, you and the other

guy.”

        Minutes later, the FBI intercepted calls between Torres and Alarcon. As set forth above,

Alarcon was the registered owner of the gray truck. Torres informed Alarcon that the officers were

towing the gray truck away and instructed Alarcon to say that, as far as she knew, her truck was still



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at the TA. Torres further instructed Alarcon to say that the guy who was cleaning the truck has a

key and that he might know something about it. In a later call, Alarcon advised Torres that the

trucking company had called her and said that customs had advised that they had a truck from Wild

West. Alarcon further stated that she had told Wild West that her truck was at the TA, that she had

given the keys to a man who was going to clean the carpet and detail the inside and that, if he had

moved it, he had done so without her permission. Alarcon also told Torres that Wild West was going

to report the truck stolen. Torres told Alarcon to remember the name “Jose Lopez” and said he

would have some business cards done with the telephone number 479-5310. On the following day,

September 13, 2003, the FBI intercepted another telephone call between Torres and Alarcon during

which Torres told Alarcon that he would send with Fernandez a business card for Jose Lopez.

Alarcon testified that she received the business card and a receipt in the amount of $300 for a

detailing job. These items were admitted into evidence. This evidence demonstrates that Torres

instructed Alarcon to give a fabricated story to the authorities to explain how the gray truck ended

up on Tower Trail Lane loaded with marijuana. In addition, the evidence shows that Torres provided

Alarcon with fraudulent documents, i.e., a false business card and a false receipt, in order to

corroborate the fabricated story.

       On September 19, 2003, the FBI intercepted a telephone call between Torres and Alarcon

during which Torres instructed Alarcon to retain a lawyer to represent her on this case and to tell the

lawyer that she needed copies to see what happened. Alarcon testified that Torres, through

Mendoza, provided her with $1,000 to hire a lawyer. A reasonable inference can be drawn from this

evidence that Torres was enlisting Alarcon to obtain documentation of the law enforcement seizure.

       Alarcon testified that, sometime after the September 12, 2003 seizure of the gray truck,



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Torres talked to her about registering another truck. Alarcon further testified that she talked to

Mendoza about obtaining insurance for this truck. According to Alarcon, Mendoza told her that she

had not yet received the insurance refund for the white truck and that, when she received this refund,

she would be able to insure another truck. Testimony of insurance agents established that, in October

or November 2003, an insurance refund check was distributed to and endorsed by Steven Broussard

and Diaz, d/b/a Stallion Transportation. This evidence establishes a connection among Torres,

Mendoza and Diaz.

III.   Count I: Continuing Criminal Enterprise

       In his motion for a judgment of acquittal, Torres argues that the evidence is insufficient to

support a continuing criminal enterprise conviction against him. To prove continuing criminal

enterprise in violation of 21 U.S.C. §848 (a), the evidence must establish: (1) the defendant violated

the Controlled Substances Act; (2) such violations were part of a continuing series of violations; (3)

the defendant obtained substantial income or resources from the series of violations; and (4) the

defendant undertook such violations in concert with five or more other persons with respect to whom

the defendant occupied a position of organizer, supervisor or manager. See 21 U.S.C. §848(c).

       Under this provision, the government must prove that there were three violations connected

together as a series of related or ongoing activities. See id. In addition, a continuing criminal

enterprise conviction “must be supported . . . by proof that the defendant obtained ‘substantial income

or resources’from trafficking in narcotics.” United States v. Maynard, 236 F.3d 601, 609 (10th Cir.

2000). There is no precise definition “as to ‘substantial income or resources,’ and the practical

meaning of the term is normally a question for the trier of fact.” Id. The Tenth Circuit has held that

“the government ‘need not prove a definite amount of net profit – it is sufficient to show substantial



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gross receipts, gross income or gross expenditures for resources.” Id. (citation omitted); see also

United States v. Hahn, 17 F.3d 502, 507 (1st Cir. 1994) (“The ‘substantial income’requirement may

be met either by direct evidence of the revenues realized and resources accumulated by the defendant,

or by such circumstantial evidence as the defendant’s position in the criminal organization and the

volume of drugs handled by the organization.”). Finally, the government must prove that the

defendant “acted as an organizer, supervisor or manager of five or more people.” United States v.

Carbajal-Moreno, 87 Fed. Appx. 700, 704 (10th Cir. 2004). “The terms ‘organizer, supervisor, or

manager’are given their everyday nontechnical meanings.” Id. The defendant’s relationships with

five or more persons “need not have existed at the same time with each other, and the same type of

relationship need not exist between the defendant and each of the five other persons involved.” Id.

Moreover, the defendant “need not have had personal contact with each of the five persons involved,

nor must the directions or instructions to those being organized, supervised, or managed originate

specifically with him.” Id. Similarly, the defendant “need not be the only manager or even the

dominant manager, supervisor, or organizer.” Id.

       As summarized above, the government presented evidence of four law enforcement seizures

of marijuana on May 18, 2003, July 14, 2003, August 7, 2003 and September 12, 2003. A reasonable

inference can be drawn from the evidence that the activities of members of the conspiracy leading to

each of those seizures were connected together as a series of related or ongoing activities.

Accordingly, the jury was permitted to infer that the possession of marijuana on those dates was part

of a continuing series of violations of the Controlled Substances Act.

       There was also evidence from which the jury could infer that Torres earned substantial income

or resources from trafficking marijuana. First, there was evidence that Torres either paid or promised



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to pay members of the conspiracy substantial sums of money. For example, Alarcon testified that,

when she first met Torres in June, 2002, he offered to pay her $15,000 to drive a truck loaded with

marijuana. Alarcon further testified that, on April 7, 2003, Torres gave her $1,000 to move a truck

from a parking lot in Las Cruces to the ranchito in Las Cruces. In addition, Alarcon testified that

Torres wired her $700 for expenses for her trip to Chicago and promised to pay her between $15,000

and $20,000 to drive a loaded truck from San Antonio to Chicago. Similarly, Alarcon testified that

Juan Antonio told her that Torres had paid him $7,000 for a trip that he had made from El Paso to

Chicago. Moreover, during an intercepted call between Torres and Fernandez on September 12,

2003 when Fernandez was watching law enforcement officers search the gray truck on Tower Trail

Lane, Torres instructed Fernandez to be on the look out and promised that, if nothing happened and

everything turned out all right, he would give “each of [them] $20,000, [Fernandez] and the other

guy.” Additionally, the evidence included records that show that the drivers of trucks carrying loads

along with other members of the conspiracy stayed at hotels in Chicago, San Antonio and Dallas.

Alarcon testified that Torres paid for her to stay in hotels during her July trip. A reasonable inference

can be drawn that Torres was paying for all of the hotel rooms. The evidence also included cash that

Alarcon testified she received from Torres.

        Similarly, there was evidence suggesting that Torres had substantial assets. First, Alarcon

testified that Torres owned two houses, one in El Paso and another in Juarez. Alarcon testified and

agents corroborated that Torres owned a pearl Escalade. Alarcon also testified that Torres owned

a Hummer. Alarcon testified that Torres instructed her to register the gray truck in her name. During

an intercepted call, Mendoza told Torres that her mother left her voter registration and driver’s

license in case Torres wanted to put a vehicle in her mother’s name. Although the red truck was



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registered to Diaz and the white truck was registered to Broussard, the evidence established that

documents were forged to retrieve these trucks and that Torres actively facilitated the process of

retrieving all of the trucks after they were seized. A reasonable inference can be drawn from this

evidence that, although the trucks that were seized were registered in others’ names, the trucks

actually belonged to Torres. Taken together, the evidence thus is sufficient to permit the reasonable

inference that Torres obtained substantial income and assets from the business of trafficking

marijuana.

       Finally, there is evidence that Torres acted as an organizer, supervisor or manager of five or

more people at various points over the course of the conspiracy. First, Alarcon testified that, on April

7, 2003, Torres instructed her to move the purple truck to the ranchito in Las Cruces and gave her

the keys and $1,000. Similarly, Alarcon testified that, on May 18, 2003, Lopez told her that Torres

had instructed him to find someone to move the red truck from the Pilot Truck Stop to a pallet shop

and back. During an intercepted telephone call on July 23, 2003, Torres instructed Mendoza to get

“paper” for “Martin,” which can be inferred to mean documentation of the May 18, 2003 seizure.

       On July 9, 2003, Torres hired Alarcon to come to Chicago to drive a loaded truck from San

Antonio to Chicago. During a recorded telephone conversation with Texas authorities regarding the

ticket that Juan Antonio had received while driving the white truck in early July, Mendoza referred

to Torres as her “boss.” When Mendoza relayed to Torres that a fine needed to be paid as result of

the ticket, Torres instructed her to pay the fine. Later, in September 2003, Torres instructed

Mendoza that preparing bills of lading was “her department.”

       Alarcon testified that Juan Antonio told her that he had made a trip from El Paso to Chicago

for Torres and that Torres had paid him $7,000 for it. Alarcon also testified that, when she, Ragan



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and Jose Luis were traveling together in the white truck from Chicago to San Antonio, Torres called

Jose Luis and, when she asked who it was, Jose Luis replied, “it’s the boss.” Similarly, Alarcon

testified that when she was traveling with Torres, Mendoza, Fernandez and Ragan in the Chevy

Tahoe, Juan Antonio and Jose Luis, who were driving the white truck, checked in periodically with

Torres. Also according to Alarcon, when the white truck was seized on July 14, 2003, Jose Luis and

Juan Antonio called Torres to report the seizure.

       The evidence established that Torres instructed Jose Luis to fly to Chicago in order to retrieve

the white truck. On intercepted telephone calls, he discussed with Jose Luis flight information and

a fabricated story for law enforcement regarding how Jose Luis came to be in possession of a tractor

containing marijuana. The evidence further established that Torres provided Jose Luis with a

fraudulent document on Broussard Carriers letterhead in order to retrieve the truck. In an intercepted

call, when Ragan reported to Torres that he and Jose Luis were picking up the truck, Ragan referred

to Torres as “sir.” Torres instructed Ragan to read him the release paperwork from the towing

company that had towed the truck.

       Several calls were intercepted in August 2002 in which Torres provided instructions to

Espinosa. For example, Torres instructed Espinosa to get bigger and clean boxes, to tell Chapo that

they have 1,400 and to mark the boxes and keep them separate. These instructions reasonably can

be inferred to have been about how to package the marijuana discovered at 405 Cineque Way.

       In intercepted telephone calls on September 10, 2003, after instructing Alarcon to move the

gray truck, Torres told Fernandez and Miramontes, who were in possession of the gray truck, where

to meet Diaz and then told Diaz where to look for Fernandez and Miramontes. In an intercepted call

on September 12, 2003, Torres instructed Fernandez to “move the truck, right now.” Thereafter,



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Torres instructed Fernandez to watch the law enforcement search of the gray truck and report to him

what was happening. In another intercepted call that same day, Torres instructed Alarcon to give a

fabricated story to the authorities to explain how the gray truck ended up on Tower Trail Lane loaded

with marijuana. Some days later, Torres instructed Alarcon to retain an attorney in order to obtain

documentation of the seizure. This evidence is sufficient to permit a reasonable inference that, in

connection with the trafficking of marijuana, Torres organized, supervised or managed at least five

individuals, including Alarcon, Mendoza, Jose Luis, Juan Antonio, Ragan, Fernandez, Lopez, Diaz

and Espinosa.

IV.    Count II: Conspiracy

       In his motion for a judgment of acquittal, Torres argues that the evidence is insufficient to

support a conspiracy conviction against him. To prove conspiracy in violation of 21 U.S.C. §846,

the evidence must establish: “(1) an agreement with another person to violate the law, (2) knowledge

of the essential objectives of the conspiracy, (3) knowing and voluntary involvement, and (4)

interdependence among the alleged conspirators.” United States v. Carter, 130 F.3d 1432, 1439

(10th Cir. 1997), cert. denied, 523 U.S. 1144 (1998). “[T]he government may establish these

elements by direct or circumstantial evidence.” United States v. Evans, 970 F.2d 663, 669 (10th Cir.

1992), cert. denied, 507 U.S. 922 (1993). The Tenth Circuit has stated:

       The jury may infer an agreement constituting a conspiracy [under §846] “from the
       acts of the parties and other circumstantial evidence indicating concert of action for
       the accomplishment of a common purpose.” Furthermore, “the jury may presume that
       a defendant is a knowing participant in the conspiracy when he acts in furtherance of
       the objective of the conspiracy.” The defendant’s participation in or connection to the
       conspiracy need only be slight, so long as sufficient evidence exists to establish the
       defendant’s participation beyond a reasonable doubt.’

United States v. Johnston, 146 F.3d 785, 789 (10th Cir. 1998) (citations omitted), cert. denied, 525



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U.S. 1088 (1999).

        Moreover, while “‘mere association’with conspirators known to be involved with a crime”

is insufficient to establish an agreement, “[a]n agreement to distribute drugs can sometimes ‘rationally

be inferred’ from ‘frequent contacts’ among the defendants and from ‘their joint appearances at

transactions and negotiations.’” Evans, 970 F.2d at 669 (citations omitted). Similarly, “[a] defendant

need not ‘know all the details or all the members of a conspiracy’to sustain a conspiracy conviction.”

United States v. Silcock, 61 Fed. Appx. 528, 530 (10th Cir. 2003) (citation omitted). Rather, the

defendant “must have a general awareness of both the scope and the objective of the enterprise to be

regarded as a coconspirator.” Evans, 970 F.2d at 670. Finally, “‘[a] defendant’s activities are

interdependent if they facilitated the endeavors of other alleged conspirators or facilitated the venture

as a whole.’” Silcock, 61 Fed. Appx. at 530 (citation omitted).

        As summarized above, there is direct and circumstantial evidence that the codefendants and

others worked together to prepare, load and transport trucks carrying marijuana from the El Paso/Las

Cruces area to the Chicago area. The evidence includes testimony, recorded telephone calls,

photographs and other documentary evidence establishing that trucks were routinely purchased,

registered, insured, moved, loaded with marijuana and driven to the Chicago area. This evidence also

demonstrates a pattern that, when one truck was seized by law enforcement, efforts were made to:

(1) procure another truck; (2) retrieve the seized truck; and (3) document that the seizure was

legitimate, thereby proving that the load therein was not stolen by those responsible for loading and

transporting it. This evidence was sufficient to allow a rational trier of fact to infer an agreement

constituting a conspiracy to possess with intent to distribute 1,000 kilograms and more of marijuana.

        Also as summarized above, the evidence is replete with evidence of Torres’s participation in



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the conspiracy. The evidence included the testimony of FBI Special Agent Rene Medina, who

interviewed Torres after his arrest on November 19, 2003. Specifically, when asked whether Torres

made any kind of statement to him, Agent Medina replied, “Yes, sir. He did. . . . he said . . . I

prepared myself for this day, that I might get arrested, he even made a comment in the Spanish

language, something to the effect that you guys got me, and I’m going to talk to you guys man to

man.” Agent Medina further testified that Torres:

       acknowledged that he had been involved in the trafficking business for approximately
       a year and a half. He advised that he had been transporting loads for an individual by
       the name of El Primo, from El Paso to Chicago. He also said he had transported
       loads of – of narcotics for another individual he identified by the name of Chapo, that
       he had transported loads from San Antonio to Chicago for this individual.

       Alarcon testified that it was Torres who, in June 2002, asked her to drive to Chicago a purple

truck loaded with drugs and offered to pay her $15,000 to do so. Alarcon testified that she moved

the purple truck that day and, thereafter, three additional times.

       When Torres was arrested, he had in his possession a Sam’s Club card, issued to an individual

named Jesus Burciaga but displaying Torres’photograph. Evidence of the purchase history on the

Sam’s Club card in Burciaga’s name shows that purchases were made with this card in Chicago on

March 11, 2003, at approximately the same time that, according to the log book found in the purple

truck, Mendivil was in Chicago with the purple truck. Similarly, evidence of the purchase history on

this card shows that purchases were made with this card in Chicago on March 25, 2003, during the

period in which, also according to the log book found in the purple truck, Mendivil again was in

Chicago with the purple truck and, according to hotel records, Mendivl, Fernandez and Guillermo

were registered as guests in a hotel in Chicago. This evidence, taken together, creates a reasonable




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inference that Torres, along with other members of the conspiracy, were in the Chicago area in

March, 2003 along with Mendivil and the purple truck loaded with marijuana.

       According to Alarcon’s testimony, it was Torres who, on April 7, 2003, met her at a parking

lot in El Paso and instructed her to move the same purple truck to the ranchito in Las Cruces and

gave her the keys and $1,000. Alarcon testified that Lopez instructed her to fill out a bill of lading

showing a load of “eighteen dryers.”

       Alarcon further testified that, on May 18, 2003, Lopez asked her to move a red truck from

the Pilot Truck Stop to a pallet shop and back to the TA Truck Stop in Las Cruces. According to

Alarcon, Lopez advised her that it was Torres who had told Lopez to get someone to drive the truck.

She testified that, at first, Torres suggested an individual named Rito Roman, but that Lopez did not

like Roman and, for this reason, instead asked Alarcon to move the truck. This truck was seized later

that day at the Las Cruces checkpoint containing 1,417 kilograms of marijuana.

       On July 23, 2003, the FBI intercepted a telephone call between Torres and an individual

identified as “Primo,” who asked Torres for “paper” because he was losing his position. Immediately

thereafter, the FBI intercepted a telephone call between Torres and Mendoza in which Torres told

Mendoza that he needed the paper for “Martin.” A rational trier of fact could infer from this evidence

that Primo was being held accountable for the marijuana lost in the May 18, 2003 seizure and that

Torres was instructing Mendoza to obtain documentation of the seizure to prove that the marijuana

had not been stolen.

       On July 30, 2003, the FBI intercepted a telephone call between Torres and Mendoza during

which they discussed someone named “Martin.” Mendoza said that Martin is sick with a fungus on

his arm, that he has diabetes, that they have not attended to him yet and that the jail is very ugly. In



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addition, Mendoza said that “she” told “Hill” that she wanted her money back and that someone had

recommended another attorney. As Mendivil was incarcerated at the time of this conversation, there

is a reasonable inference that he is the “Martin” whom Torres and Mendoza were discussing.

          A lease document admitted into evidence shows that Diaz, d/b/a Stallion Transportation,

leased a white truck from an individual named Steven Broussard on May 21, 2003, three days after

the seizure of the red truck. Documentary evidence also established that, on May 23, 2003, Steven

Broussard paid $4,220 in cash to insure the white truck and that, on May 28, 2003, Steven Broussard

registered the white truck. The registration contains the notation: “unknown milexplaitocustagreed”

and is signed “J. Torres.” There is a reasonable inference that Torres is the “J. Torres” who signed

this document.

          Moreover, Alarcon testified that, on July 9, 2003, it was Torres who asked her to come to

Chicago to drive a truck and wired her $700 to fly to Chicago. The FBI intercepted a telephone call

in which Alarcon discussed with Torres the driving route from Chicago to San Antonio. According

to Alarcon, Torres promised to pay her between $15,000 and $20,00 to drive a loaded truck from

San Antonio to Chicago.

          Alarcon’s testimony established that Torres was one of the individuals who met Alarcon when

she arrived in Chicago on July 10, 2003. Testimony of surveillance agents established that the group,

which included Torres, was traveling in a Chevy Tahoe with New Mexico plates and registered to

Mendoza’s sister. Surveillance agents took a photograph, admitted into evidence, of several

individuals outside of an apartment in Chicago, one of whom was identified by Agent Armijo as

Torres.




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        The FBI recorded a conversation during the drive in which Mendoza was speaking on a

cellular telephone with someone about a ticket that Juan Antonio had received in Wetherford, Texas

for failure to display insurance. During the call, Mendoza referred to Juan Antonio as “one of my

drivers” and said that her “boss” wanted to know what “failure to display insurance” means. She

relayed to Torres that there was a fine that needed to be paid. Torres instructed her to pay the fine.

This evidence suggests that Mendoza considered Torres to be her “boss.”

        The testimony of Officer Forrest confirmed that, on July 3, 2003, he had ticketed Juan

Antonio. The ticket, which was admitted into evidence, shows that Juan Antonio was driving the

white truck and that the load in the truck was dryers. In addition, during the search of the white truck

pursuant to the seizure on July 14, 2003, a toll receipt for the Oklahoma Turnpike dated July 4, 2003

and a sales receipt from the TA Truck Stop in Gary, Indiana dated July 5, 2003 were found. Alarcon

testified that, on July 10, 2003, Juan Antonio told her that Torres had paid him $7,000 for a prior trip

he had made in which the cover load was dryers. This evidence suggests that, when he received the

ticket for which Mendoza was making inquiries on behalf of her “boss,” Juan Antonio was driving

the white truck, loaded with marijuana and dryers, for Torres.

       Alarcon testified that, on July 11, 2003, she, Ragan and Jose Luis traveled in the white truck

from Chicago to San Antonio and that Mendoza, Torres, Fernandez and Juan Antonio followed them

in the Chevy Tahoe. According to Alarcon, the group met at a hotel in San Antonio and, the

following day, went to a store where Alarcon cashed a money order in the amount of $1,000 that

Mendoza had given her. The evidence, including Alarcon’s testimony, testimony of surveillance

agents and a sales receipt, established that Torres and Mendoza then purchased a typewriter. Alarcon




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testified that she observed Mendoza use this typewriter to prepare a bill of lading for a load of

eighteen dryers.

         Testimony of surveillance agents established that Jose Luis and Juan Antonio then drove the

white truck to a warehouse in Edinburgh where they unhitched the trailer, traveled in the tractor to

a restaurant, returned to the warehouse, hitched the trailer to the tractor, and drove the white truck

back to San Antonio. Alarcon testified that the group met in San Antonio late that night. Testimony

of surveillance agents established that the group left San Antonio, Jose Luis and Juan Antonio in the

white truck and the others in the Chevy Tahoe. Alarcon testified that she, Torres, Mendoza,

Fernandez and Ragan stopped in Dallas for the night. Records of La Quinta Hotel in Dallas list as

guests Jesus Burciaga and Gaby Fernandez for July 13 to July 14, 2003.

         Sergeant Noel Sanchez testified that, in the early morning of July 14, 2003, in Gary, Indiana,

he stopped and searched the white truck driven by Jose Luis and Juan Antonio. The truck contained

777 kilograms of marijuana, fourteen boxes containing dryers and four empty boxes. The white truck

then was seized. Alarcon testified that, after the seizure, Jose Luis and Juan Antonio called Torres

to tell him about the seizure and Torres told the rest of the group riding in the car, “they got the

guys.”

         On July 23, 2003, the FBI intercepted a telephone call between Torres and an unidentified

male with a (956) area code.1 The unidentified male asked Torres about getting something to

document what happened “that day.” Torres explained that, because no one was arrested, there was

no report that states who was arrested and with how much. The unidentified male said, “these people



         1
           According to FBI Special Agent Rene Mendina, during Torres’post-arrest statement,
Torres said that he transported loads of narcotics for an individual named Chapo who had a
cellular telephone with a (956) area code.

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are thinking something bad.” A reasonable inference can be drawn that they were discussing

documentation to show that there was a legitimate seizure of the marijuana.

       On July 24, 2003, the FBI intercepted a telephone call between Torres and Jose Luis during

which Torres gave Jose Luis flight information. Later that day, the FBI intercepted another telephone

call between Mendoza and a Southwest Airlines agent during which Mendoza, representing herself

as “Mrs. Barraza,” made reservations for Jose Luis to fly from El Paso to Chicago the next day, July

25, 2003. The evidence established that Jose Luis did in fact travel to Chicago where he went to the

police station and presented an apparently fraudulent letter directing that the white truck be released

to him. The letter was on Broussard Carriers letterhead and reflected a telephone number of (915)

276-4279. When Mendoza was arrested, she had in her possession a written notation of this

telephone number described as “prepaid.”

       On July 29, 2003, the FBI intercepted a telephone call between Torres and Jose Luis during

which Torres asked Jose Luis where the load was going from and Jose Luis replied that it was going

from Indianapolis to Wisconsin. Jose Luis said that he was going to say that he picked it up there.

Torres said, “they’re going to say, why did you come up on the 57?” Jose Luis responded, “they

don’t know that I came up on the 57.” Torres then instructed Jose Luis to say that he met another

truck at the Petro and they changed trailers.

       On August 5, 2003, the FBI intercepted a telephone call between Torres and Ragan during

which Ragan told Torres, “We are here picking up the truck sir.” Ragan told Torres that he received

a receipt and, when Torres asked him what the receipt said, Ragan read to him verbatim from the

release paperwork from Republic Frame and Axle, the company responsible for towing the white

truck after the July 14, 2003 seizure. The reasonable inferences to be drawn from all of this evidence



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are: Torres sent Jose Luis to pick up the white truck; Torres had Mendoza arrange the trip; Torres

instructed Jose Luis to fabricate a story explaining how he came to be in possession of a tractor

containing marijuana; Torres provided Jose Luis with the letter purportedly signed by Steven

Broussard; and Torres was seeking documentation of the seizure in order to prove that the load was

seized by law enforcement.

       Alarcon’s testimony also established that Torres purchased a gray refrigerated truck,

instructed Alarcon to register the truck in her name, ultimately with Wild West Trucking, and advised

Alarcon that he intended to use the truck for drug loads to Chicago. On July 30, 2003, it was Torres

and Diaz who worked on the gray truck when it was not working. This same gray truck was

observed at the Las Cruces Tortillaria in El Paso. As set forth above, when the gray truck was

searched on September 12, 2003, it contained a cover load of tortilla chips and pork rinds. Then, on

August 6, 2003, the FBI intercepted a call between Torres and Espinosa during which Torres said,

“Joe already went to pick up the big truck.” That same day, surveillance agents observed Diaz and

Torres at the Flying J Truck Stop, jump starting the gray truck.

       On August 7, 2003, the FBI intercepted a telephone call between Torres and Espinosa in

which Torres said that he was leaving that day. Surveillance agents observed the gray truck move

to a Diamond Shamrock station in El Paso. With the gray truck, surveillance agents also observed

a pearl Escalade driven by a man whose description fits that of Torres.

       In calls between Torres and Espinosa intercepted by the FBI during the period from August

1 to August 7, 2003, Espinosa told Torres that the boxes are too small for the “dulces,” or candies,

and described the boxes as being 18" x 18" x 16". Torres instructed Espinosa to use “clean” and

“bigger” boxes. Espinosa also told Torres that they had “the stuff,” “the boxes.” In addition, Torres



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instructed Espinosa to tell someone named Chapo that they have “1,400.” During the officers’search

of the house at 405 Cineque Way on August 7, 2003, they found 523 kilograms, or 1,200 pounds,

of marijuana. The marijuana was in boxes that were 18" x 18" x 16", and the boxes were bulging.

The officers also found larger, empty boxes. In addition, the officers found the target telephone

which the FBI had provided to Alarcon to give to Torres and on which the FBI had been intercepting

calls. A reasonable inference can be drawn that the conversations between Torres and Espinosa were

about the 1,200 pounds of marijuana discovered at 405 Cineque Way on September 7, 2003.

       Alarcon testified that, on September 9, 2003, Torres instructed her to move the gray truck

and that, on September 10, 2003, she moved the truck from the TA Truck Stop in Las Cruces to the

Love’s Truck Stop in El Paso. Testimony of surveillance agents corroborated Alarcon’s testimony.

Alarcon further testified that she met Fernandez and Miramontes at the Love’s Truck Stop.

Testimony of surveillance agents established that the gray truck then was moved from the Love’s

Truck Stop to a warehouse in El Paso that was near train tracks, a petroleum refinery and Interstate

10.

       Also on September 10, 2003, the FBI intercepted several calls between Torres and Fernandez.

During one call, Torres instructed Fernandez to “wait there, Joe is going to go by in the black truck

and then you guys go with him.” Approximately ten minutes later, the FBI intercepted a call between

Torres and Diaz during which Diaz said that he is “here at the telephones.” Torres told him, “they’re

coming out, be on the look out. . . . Go there by where the big ones come out.” This evidence

suggests that Torres was instructing Diaz where to meet the other members of the conspiracy who

had possession of the gray truck.




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       On September 11, 2003, the FBI intercepted a telephone call between Torres and Mendoza

during which Mendoza said, “you gotta see it to see if you like it,” and Torres responded, “you

already know what you need to do, I can’t be telling you what . . . You’re the one in charge of that

department.” Mendoza told Torres to “buy some right there and I’m going to make a copy of this

one.” She also asked whether they are “going to fill it out in the typewriter and not in the computer?”

Torres responded, “on the typewriter, I’ll buy one right now.” Mendoza then said, “they’re leaving

at 7:30, just let me go over there and make some copies.” This evidence suggests that Torres was

purchasing a typewriter on which Mendoza was going to prepare a bill of lading for a load that was

about to be transported.

       Officer Briano testified that, on September 12, 2003, he conducted an abandoned vehicle

inspection of the gray truck, which was parked on Tower Trail Lane in El Paso. Officer Briano

testified that he found in the truck 340 kilograms of marijuana in loose boxes along with loose boxes

containing tortilla chips and pork rinds.

       At the same time that Officer Briano was conducting his inspection, the FBI intercepted

telephone calls between Torres and Fernandez. During the first call at approximately 11:30 a.m.,

Torres told Fernandez, “I need for you to move the truck, right now.” During a second call

approximately one-half hour later at noon, Fernandez told Torres, “the state trooper is there where

the big vehicle is at. They opened the box.” Fernandez further told Torres that the dogs and the cops

were there and that the back door was open. During the next call approximately one-half hour later

at 12:30 p.m., Fernandez told Torres that “they” were on top, brought dogs and were unloading.

Torres instructed Fernandez to stay there and watch from afar, not to get close to the truck, to sit

down like he was drinking a soda and “just looking.” Torres asked, “and . . . Joe and those guys



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aren’t answering, right?” Fernandez replied, “They haven’t called me or anything.” During the next

call at 1:45 p.m., Fernandez told Torres that the “narcs” were still there, that they had been inside the

tractor and the trailer, but that they had not taken anything out. Three minutes later, there was

another call during which Torres asked, “but nothing was on pallets, right? Everything was loose?”

Fernandez responded, “Yes, everything was loose.” Fernandez also said, “I put that shit in the back

and then I put all the pork rinds on top of that shit and on the side where it couldn’t be seen.” One

minute later, there was another call during which Torres told Fernandez, “just be on the look out, if

nothing happens and everything turns out all right, I’ll give each of you $20,000, you and the other

guy.”

        Minutes later, the FBI intercepted calls between Torres and Alarcon. During these calls,

Torres instructed Alarcon to give a specific fabricated story to the authorities to explain how the gray

truck ended up on Tower Trail Lane loaded with marijuana. There is evidence that Torres provided

Alarcon with fraudulent documents, i.e., a false business card and a false receipt, in order to

corroborate the fabricated story.

        On September 19, 2003, the FBI intercepted a telephone call between Torres and Alarcon

during which Torres instructed Alarcon to retain a lawyer to represent her on this case and to tell the

lawyer that she needed copies to see what happened. Alarcon testified that Torres, through

Mendoza, provided her with $1,000 to hire a lawyer. A reasonable inference can be drawn from this

evidence that Torres was enlisting Alarcon to obtain documentation of the law enforcement seizure.

        Alarcon testified that, sometime after the September 12, 2003 seizure of the gray truck,

Torres talked to her about registering another truck. Alarcon further testified that she talked to

Mendoza about obtaining insurance for this truck. According to Alarcon, Mendoza told her that she



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had not yet received the insurance refund for the white truck and that, when she received this refund,

she would be able to insure another truck. Testimony of insurance agents established that, in October

or November 2003, an insurance refund check was distributed to and endorsed by Steven Broussard

and Diaz, d/b/a Stallion Transportation. This evidence establishes a connection among Torres,

Mendoza and Diaz.

       As a review of the evidence thus demonstrates, there is direct and circumstantial evidence that

Torres knowingly participated in and facilitated the process of procuring, registering, insuring and

moving trucks to be used to transport marijuana. In addition, there is direct and circumstantial

evidence that, when one truck was seized by law enforcement, Torres knowingly participated in and

facilitated the process of procuring another truck, retrieving the seized truck, and obtaining

documentation that the seizure was legitimate. The evidence in the instant case was sufficient to

permit a rational juror to find that Torres’s activities with regard to hiring, organizing, contacting,

instructing and monitoring other members of the conspiracy and with regard to overseeing and

directing the actions taken by those individuals in furtherance of the conspiracy, viewed together with

Torres’ post-arrest statement and all of the other evidence against him, connected him to the

conspiracy to possess with intent to distribute 1,000 kilograms and more of marijuana.

V.     Count III: Possession with Intent to Distribute; Aiding and Abetting

       In his motion for a judgment of acquittal, Torres argues that the evidence is insufficient to

support a possession with intent to distribute conviction against him. To prove possession with intent

to distribute in violation of 21 U.S.C. §§841(a)(1) and (b)(1)(A), the evidence must establish that the

defendant: “(1) possessed the controlled substance; (2) knew he possessed the controlled substance;

and (3) intended to distribute or dispense the controlled substance.” Delgado-Uribe, 363 F.3d at



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1084.    A defendant’s possession of a controlled substance “may be actual or constructive.

Constructive possession may be established by circumstantial evidence and may be joint among

several individuals.” Id.

        To prove aiding and abetting in violation of 18 U.S.C. §2, the evidence must establish that

the defendant: “(1) ‘willfully associate[d] with the criminal venture,’and (2) ‘aid[ed] such venture

through affirmative action.’” Id. (citation omitted). “Participation in the criminal venture may be

established by circumstantial evidence and the level of participation may be of ‘relatively slight

moment.’” United States v. Anderson, 189 F.3d 1201, 1207 (10th Cir. 1999). Evidence connecting

a defendant to a conspiracy “also supports a finding that [he] aided and abetted others in possession.”

United States v. Espinosa, 771 F.2d 1382, 1291 n.2 (10th Cir.), cert. denied sub nom., Foreman v.

United States, 474 U.S. 1023 (1985).

        In the instant case, Torres is charged with aiding and abetting the possession with intent to

distribute the 1,417 kilograms of marijuana seized at the Las Cruces checkpoint on May 18, 2003

from the truck driven by Mendivil. Based on the same evidence that connects Torres to the

conspiracy, the Court finds that the evidence was sufficient to allow a rational jury to conclude that

Torres aided and abetted in the possession with intent to distribute 1,417 kilograms of marijuana on

May 18, 2003.2

        2
          As set forth in detail above, Alarcon testified that, on May 18, 2003, Lopez asked her to
move a red truck from the Pilot Truck Stop to a pallet shop and back to the TA Truck Stop in
Las Cruces. According to Alarcon, Lopez advised her that it was Torres who had told Lopez to
get someone to drive the truck. She testified that, at first, Torres suggested an individual named
Rito Roman, but that Lopez did not like Roman and, for this reason, instead asked Alarcon to
move the truck. This truck was seized later that day at the Las Cruces checkpoint containing
1,417 kilograms of marijuana.

        Moreover, on July 23, 2003, the FBI intercepted a telephone call between Torres and an
individual identified as “Primo,” who asked Torres for “paper” because he was losing his position.

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                                          CONCLUSION

        First, with regard to Count 1 of the Fourth Superseding Indictment, the evidence as set forth

above and the reasonable inferences to be drawn from this evidence were sufficient to permit the jury

to find: (1) the activities leading to the law enforcement seizures on May 18, 2003, July 14, 2003,

August 7, 2003 and September 12, 2003 were part of a continuing series of violations of the

Controlled Substances Act; (2) Torres obtained substantial income or resources from the trafficking

of marijuana; and (3) Torres engaged in the trafficking of marijuana with five or more persons with

respect to whom he occupied a position of organizer, supervisor or manager. Next, with regard to

Count 2 of the Fourth Superseding Indictment, the evidence as set forth above and the reasonable

inferences to be drawn from this evidence were sufficient to permit the jury to find: (1) the existence

of a conspiracy to possess with intent to distribute 1,000 kilograms and more of marijuana; and (2)

a link between Torres and that conspiracy. Finally, with regard to Count 3 of the Fourth Superseding

Indictment, the evidence as set forth above and the reasonable inferences to be drawn from this

evidence were sufficient to permit the jury to find that Torres aided and abetted in the possession with

intent to distribute 1,417 kilograms of marijuana on May 18, 2003. The Court thus cannot find that



Immediately thereafter, the FBI intercepted a telephone call between Torres and Mendoza in
which Torres told Mendoza that he needed the paper for “Martin.” A rational trier of fact could
infer from this evidence that Primo was being held accountable for the marijuana lost in the May
18, 2003 seizure and that Torres was instructing Mendoza to obtain documentation of the seizure
to prove that the marijuana had not been stolen.

         In addition, on July 30, 2003, the FBI intercepted a telephone call between Torres and
Mendoza during which they discussed someone named “Martin.” Mendoza said that Martin is
sick with a fungus on his arm, that he has diabetes, that they have not attended to him yet and that
the jail is very ugly. In addition, Mendoza said that “she” told “Hill” that she wanted her money
back and that someone had recommended another attorney. As Mendivil was incarcerated at the
time of this conversation, there is a reasonable inference that he is the “Martin” whom Torres and
Mendoza were discussing.

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the evidence was insufficient to sustain the conviction against Torres on any of the three counts in

the Fourth Superseding Indictment. Accordingly, Torres’s motion for a judgment of acquittal must

be denied.

         IT IS SO ORDERED.

         DATED this 28th day of April, 2005.




                                               MARTHA VÁZQUEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE

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